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                 4                                 UNITED STATES DISTRICT COURT
                 5                                        DISTRICT OF NEVADA
                 6                                                   ***
                 7        UNITED STATES OF AMERICA,                            Case No. 2:13-CR-18 JCM (GWF)
                 8                                           Plaintiff(s),                     ORDER
                 9              v.
               10         LEON BENZER, et al.,
               11                                          Defendant(s).
               12
               13              Presently before the court is the case of United States v. Benzer, no. 2:13-cr-00018-JCM-
               14     GWF-1. The sentencing hearing for defendant Leon Benzer (“defendant”) is currently set for
               15     Monday, August 3, 2015, at 10:00 am. (Doc. # 456). Due to a conflict in the probation office, the
               16     court will vacate the sentencing hearing and reschedule it for Thursday, August 6, 2015, at 10:00
               17     am.
               18              Accordingly,
               19              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the sentencing hearing
               20     currently set for Monday, August 3, 2015, at 10:00 am, be, and the same hereby is, VACATED.
               21              IT IS FURTHER ORDERED that the sentencing hearing be reset for Thursday, August 6,
               22     2015, at 10:00 am.
               23     .        DATED June 9, 2015.
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               25                                           ___________________________________________
               26                                           UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
